
At a General Court, November 18th, 1805, present judges White, Stuart, and Creed Taylor, the following adjourned case from the district court of Richmond, was read to the court. “The attorney general this day moved the court to direct the clerk to issue an execution on a judgment yesterday entered in favour of Robert Leonard ag’ainst Turner R. Henley, on the conviction of the said Turner R. Henley for larceny, but the court being of opinion that this is a case of novelty and difficulty, doth adjourn the same to the general court for its decision, what execution ought to be issued to enforce the judgment in such cases.”
On consideration whereof, the court decided, “that judgment ought not to have been entered in the said case for the money in the indictment mentioned, and therefore execution ought not to issue on the judgment entered therein.”
